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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF ALABAMA
                            NORTHERN DIVISION

BRANDON CHRISTOPHER                        )
HOWARD,                                    )
                                           )
      Plaintiff,                           ) Civil Action No.: 2:17-CV-818-JFD
                                           )
v.                                         )
                                           )
JAMES ANGLIN,                              )
MAURICE WOMACK,                            )
AND KEITH EDWARDS,                         )
                                           )
      Defendants.                          )

                             MOTION TO CONTINUE

      Plaintiff, Brandon Howard, moves this Honorable Court to enter an Order

continuing the trial of this action. As grounds, Plaintiff states as follows:

      1.     This case is set for a jury trial the week of August 9, 2021.

      2.     On today’s date, counsel for the parties were informed that Elmore

Correctional Facility, where Plaintiff is presently incarcerated, is quarantined due to

COVID-19.

      3.     As a result, the Alabama Department of Corrections does not feel that

it can responsibly transport Plaintiff to the courthouse for trial.

WHEREFORE, premises considered, Plaintiff prays this Honorable Court will enter

an Order continuing the trial of this action.
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      Respectfully submitted this the 5th day of August 2021.


                                     /s/ Jonathan K. Corley
                                     One of the Attorneys for Plaintiff
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                         CERTIFICATE OF SERVICE

      I hereby certify that on this the 5th day of August 2021, I have filed the
foregoing document using the CM/ECF system, which will provide notice to the
following counsel of record via e-mail:

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                                     /s/ Jonathan K. Corley
                                     Jonathan K. Corley
